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   1                                                               (JS-6 Admin)
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   8                     UNITED STATES DISTRICT COURT
   9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   CHRISTOPHER RASH, on behalf of         Case No. 5:21-CV-00998-JWH-SPx
         himself and all others similarly
  12     situated,
                                              ORDER GRANTING
  13               Plaintiff,                 DEFENDANT’S MOTION TO
                                              STAY ACTION PENDING
  14         v.                               APPROVAL OF CLASS
                                              SETTLEMENT IN ANOTHER
  15   TELEBRANDS CORPORATION,                ACTION [ECF No. 39]
  16               Defendant.
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   1         Before the Court is the motion of Defendant Telebrands Corporation to
   2   stay the instant action pending the approval of a class settlement in another
   3   action.1 The Court finds this matter appropriate for resolution without a
   4   hearing. See Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in
   5   support and in opposition,2 the Court orders that the Motion is GRANTED, for
   6   the reasons set forth herein.
   7                                   I. BACKGROUND
   8   A.    Procedural Background
   9         On June 14, 2021,3 Plaintiff Christopher Rash filed his Complaint
  10   commencing this action on behalf of himself and all others similarly situated.
  11   Telebrands filed the instant Motion on October 8, and it is fully briefed.
  12   B.    Factual Background
  13         1.     Rash’s Allegations
  14         The following concise summary is extracted from Rash’s Complaint:
  15         Telebrands designs, develops, advertises, sells, and distributes expandable
  16   Silver Bullet™ garden water hoses (the “Silver Bullet Hose”) throughout the
  17   United States.4 Telebrands advertises that the Silver Bullet Hose contains a
  18   “DURABLE OUTER SHELL” that “won’t snag, tear, or wear.”5 Telebrands
  19   also touts that the Silver Bullet Hose is “‘super lightweight and easy to
  20   maneuver around’” lawns and gardens.6 Rash and putative class members
  21
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  22         Def.’s Mot. to Temporarily Stay Action Pending Approval of Class
       Settlement in Another Action (the “Motion”) [ECF No. 39].
  23   2
             The Court considered the following papers: (1) Compl. (the
       “Complaint”) [ECF No. 1]; (2) the Motion (including its attachment); (3) Pl.’s
  24   Opp’n to the Motion (the “Opposition”) (including its attachments) [ECF
       No. 47]; and (4) Def.’s Reply in Supp. of the Motion (the “Reply”) [ECF
  25   No. 48].
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  26         Unless otherwise noted, all dates are in 2021.
       4
             Complaint ¶ 1.
  27   5
             Id. at ¶ 3.
  28   6
             Id. at ¶ 4.

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   1   viewed and relied upon such advertising in connection with their respective
   2   purchases of the Silver Bullet Hose.7
   3         Rash alleges that shortly after their first use, Silver Bullet Hoses tear,
   4   wear, develop pinholes, and leak.8 As a result of those defects, consumers incur
   5   substantial replacement costs.9
   6         In this action, Rash asserts claims for (1) violation of the California
   7   Consumers Legal Remedies Act (the “CLRA”), Cal. Civ. Code §§ 1770(a)(5),
   8   (a)(7), & (a)(9); (2) violation of the California Unfair Competition Law (the
   9   “UCL”), Cal. Bus. & Prof. Code §§ 17200 et seq. (unlawful business practice);
  10   (3) violation of the UCL (unfair business practice); (4) breach of implied
  11   warranty; (5) breach of implied warranty of merchantability, Song-Beverly Act,
  12   Cal. Civ. Code § 1790; and (6) unjust enrichment.
  13         2.     The Gallo Case
  14         Currently pending before the Superior Court of New Jersey is a civil
  15   action denominated as Gallo v. Telebrands Corp., Case No. ESX-L-007123-21
  16   (“Gallo”).10 The Gallo plaintiffs commenced their action on September 22.11
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  18   7
              Id. at ¶ 6.
       8
  19          Id.
       9
              Id.
  20   10
              Motion 6:1-7:3.
  21   11
              See Def.’s Req. for Judicial Notice, Ex. A [ECF No. 40-1]. Telebrands
       requests that the Court take judicial notice of five documents. See Def.’s Req.
  22   for Judicial Notice (the “RJN”) [ECF No. 40]. In deciding a motion to dismiss,
       courts generally look to only the face of the complaint and the documents
  23   attached thereto. Van Buskirk v. Cable News Network, Inc., 284 F.3d 977, 980
       (9th Cir. 2002). The Court may also consider, however, materials that are
  24   subject to judicial notice under Rule 201 of the Federal Rules of Evidence.
       Gerritsen v. Warner Bros. Entertainment, Inc., 112 F. Supp. 3d 1101, 1020
  25   (C.D. Cal. 2015). Rule 201 permits judicial notice of facts that are “not subject
       to reasonable dispute” because they “can be accurately and readily determined
  26   from sources whose accuracy cannot reasonably be questioned.”
       Fed. R. Evid. 201(b). Here, Exhibits 1-5 are judicially noticeable court filings
  27   from the Gallo case. The RJN is GRANTED, as the accuracy of those materials
       cannot reasonably be questioned. See Holder v. Holder, 305 F.3d 854, 866 (9th
  28   Cir. 2002) (granting judicial notice of state court of appeal opinion and briefs).

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   1   The plaintiffs in both Gallo and in the instant action make allegations about the
   2   Silver Bullet Hose’s lack of durability,12 and the plaintiffs in both cases seek
   3   similar relief.13
   4          On the same day that the Gallo plaintiffs commenced that action, they
   5   filed a motion for preliminary approval of a nationwide class settlement.14 That
   6   settlement, if approved, would provide class members who produce proof of
   7   purchase with a full refund of the purchase price, up to $7.00 per hose for up to
   8   two hoses.15 In addition, Telebrands would provide customers who lack proof of
   9   purchase with a refund, so long as they return the hose.16 The Gallo court will
  10   evaluate the proposed settlement for fairness, reasonableness, and adequacy.17
  11   Telebrands now requests that the Court stay this action pending the approval of
  12   a settlement in Gallo.18
  13          On September 30, Rash filed a motion to intervene in the Gallo case.19 In
  14   that motion to intervene, Rash averred that there are serious deficiencies in the
  15   proposed settlement agreement.20 Specifically, Rash argued that Telebrands
  16   “appear[s] to have engaged in a reverse auction[,]” which occurs when the
  17   defendants in a series of class actions pick the weakest class lawyers to obtain the
  18   weakest possible settlement.21 Rash highlighted the supposed deficiencies in the
  19   Gallo settlement, including (1) the failure of the plaintiffs there to take
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  21         Compare RJN Ex. 1 ¶¶ 1-15 with Complaint ¶ 1-8 & 15-22.
       13
             Compare RJN Ex. 1 ¶¶ 27-46 with Complaint ¶¶ 60-114.
  22   14
             See RJN Exs. 2-5.
  23   15
             RJN Ex. 4 pp. 58-59 & 63.
       16
  24         Id.
       17
             Motion 10:1-9.
  25   18
             See generally Motion.
  26   19
             See Decl. of Michael F. Ram in Supp. of Pl.’s Opp’n to Def.’s Mot. to
       Stay [ECF No. 47-1]; id., Ex. B [ECF No. 47-3].
  27   20
             See generally id., Ex. B.
  28   21
             Id. at 2.

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   1   discovery, hire experts, undertake lab testing, or engage a neutral mediator; and
   2   (2) the failure of the settlement to force the termination of Telebrands’s sale of
   3   the defective hoses.22
   4         On November 10, the New Jersey Superior Court granted the Gallo
   5   plaintiffs’ motion for preliminary approval of settlement and release and related
   6   relief.23 That same day, the Superior Court denied Rash’s motion to
   7   intervene.24
   8                               II. LEGAL STANDARD
   9         Courts have broad discretion to stay cases, including staying discovery
  10   therein, in the interests of judicial economy and to ensure the orderly and
  11   efficient management of litigation. See Landis v. North American Co., 299 U.S.
  12   248, 254 (1936) (“The power to stay proceedings is incidental to the power
  13   inherent in every court to control the disposition of the causes on its docket with
  14   economy of time and effort for itself, for counsel, and for litigants.”); Chambers
  15   v. NASCO, Inc., 501 U.S. 32, 45-46 (1991) (noting court’s broad inherent
  16   authority to address discovery issues); see also Fed. R. Civ. Proc. 26(b)(2)(C)(iii)
  17   (“On motion or on its own, the court must limit the frequency or extent of
  18   discovery otherwise allowed . . . if it determines that the burden or expense of
  19   the proposed discovery outweighs its likely benefit, considering the needs of the
  20   case, the amount in controversy. . . .”).
  21         Specifically, a “trial court may, with propriety, find it is efficient for its
  22   own docket and the fairest course for the parties to enter a stay of an action
  23   before it, pending resolution of independent proceedings which bear upon the
  24   case.” Leyva v. Certified Grocers of California, Ltd., 593 F.2d 857, 864 (9th Cir.
  25   1979) (citing multiple cases). Indeed, “Courts routinely exercise [their
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             Id. at 3.
  27   23
             See Notice, in Connection with the Motion [ECF No. 54], Ex. A.
  28   24
             See id., Ex. B.

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   1   discretionary] power and grant stays when a pending nationwide settlement
   2   could impact the claims in the case before them.” Hennessey v. Gap Inc., 2021
   3   WL 2665910, at *1 (E.D. Mo. June 29, 2021) (internal quotations omitted)
   4   (staying a federal class action pending the approval of a class settlement in a
   5   similar California state action). Courts may grant a stay to promote “the orderly
   6   course of justice.” CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962) (citing
   7   Landis, 299 U.S. at 254-55).
   8         “[T]he party seeking the stay ‘must make out a clear case of hardship or
   9   inequity.’” Lockyer v. Mirant Corp., 398 F.3d 1098, 1112 (9th Cir. 2005) (citing
  10   Landis, 299 U.S. at 255). In determining whether to grant a stay, the court must
  11   consider (1) “the possible damage which may result from the granting of a
  12   stay”; (2) “the hardship or inequity which a party may suffer in being required
  13   to go forward”; and (3) “the orderly course of justice measured in terms of the
  14   simplifying or complicating of issues, proof, and questions of law which could be
  15   expected to result from a stay.” Id.
  16                                  III. DISCUSSION
  17         The Court will evaluate each of the Lockyer factors in turn.
  18   A.    Possible Harm to Rash If a Stay Is Granted
  19         The parties disagree over whether a stay will harm Rash. Telebrands
  20   contends that “Rash would suffer no harm by allowing the Gallo court to assess
  21   the fairness of the class settlement reached in that case, and he has a remedy for
  22   whatever purported harm he might assert. Rash is free to challenge the Gallo
  23   settlement terms or to opt-out of the settlement altogether.”25 To support its
  24   argument, Telebrands cites Pieterson v. Wells Fargo Bank, N.A., 2019 WL
  25   1466963 (N.D. Cal. Feb. 14, 2019). In Pieterson, the district court downplayed
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             Motion 12:13-18.

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   1   the harm that a stay under similar circumstances would cause the plaintiffs,
   2   noting:
   3          If the court grants the motion, Plaintiffs can challenge the
   4          settlement. If the settlement obtains final approval as fair and
   5          reasonable, among other criteria, Plaintiffs will either be
   6          compensated under the settlement or can resume litigating this case,
   7          depending on whether they remain a part of the settlement class and
   8          any claims in this case remain viable.
   9   Id. at *1.
  10          In his Opposition, Rash argues that he will suffer harm if a stay is granted
  11   because (1) Telebrands owes Rash discovery responses; and (2) the proposed
  12   Gallo settlement does not provide for injunctive relief.26 Here, as in Franco v.
  13   Central Transport LLC, 2020 WL 11626531 (C.D. Cal. Oct. 22, 2020), “the
  14   Court recognizes Plaintiffs’ frustration about the added delay in resolving
  15   discovery disputes . . . .” Id. at *3. Nevertheless, “Plaintiffs do not articulate
  16   any specific prejudice in halting discovery for a limited time (such as, for
  17   example, the potential loss of evidence). Allowing these discovery disputes to
  18   proceed when a settlement may bar this action would therefore waste judicial
  19   resources.” Id.
  20          With respect to Rash’s second argument, he cites no authority suggesting
  21   that he would be injured if the Gallo court approves a settlement that does not
  22   include injunctive relief. The Court presumes that Rash does not intend to
  23   purchase another Silver Bullet Hose, and it is therefore unclear how the lack of
  24   injunctive relief injures Rash. Accordingly, the Court finds that any harm to
  25   Rash caused by a stay would be relatively minor.
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  28   26
              Opposition 11:2-18.

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   1   B.     Possible Harm to Telebrands from the Denial of a Stay
   2          When evaluating whether denying a stay will harm the moving party,
   3   courts consider the possibility of “duplicative litigation.” Rego v. Am. Honda
   4   Motor Co., 2012 WL 12953740, at *3 (C.D. Cal. Sept. 20, 2012). In addition,
   5   courts consider whether the absence of a stay increases the risk of “inconsistent
   6   rulings.” Franco, 2020 WL 11626531, at *3 (quoting Pieterson, 2019 WL
   7   1466963, at *2). Here, the Court finds that it would be “burdensome upon the
   8   parties” for the Court to permit “discovery, and upon completion of pretrial
   9   proceedings, to take evidence and determine the merits of the case at the same
  10   time as” parallel litigation takes place in the Gallo case. Levya v. Certified
  11   Grocers of California, Ltd., 593 F.2d 857, 864 (9th Cir. 1979). This factor weighs
  12   in favor of a stay.
  13   C.     Orderly Administration of Justice
  14          The Court next examines whether granting a stay would promote the
  15   orderly administration of justice. Here, the Court finds that “[s]taying the case
  16   is the best option for promoting the orderly administration of justice under the
  17   circumstances.” Pieterson, 2019 WL 1466963, at *3. The approval of the Gallo
  18   settlement would be dispositive of this case because the Gallo settlement
  19   includes all members of the proposed classes in the instant action. See, e.g., In re
  20   JPMorgan Chase LPI Hazard Litig., 2013 WL 3829271, at *5 (N.D. Cal. Jul. 23,
  21   2013) (“a stay is in the interest of judicial economy because a settlement in [the
  22   parallel class action] will obviate any further litigation of issues in this case”).
  23          Ultimately, Rash’s arguments amount to an expression of his
  24   dissatisfaction with the proposed settlement in Gallo. For now, the decision on
  25   the adequacy of that settlement rests with the Superior Court of New Jersey.
  26   See Pieterson, 2019 WL 1466963, at *3 (“[A]ll of these issues go to the question
  27   of whether the Prather settlement is fair and should be approved. That is a
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   1   question that will be resolved by [the Judge] in the [settlement] approval
   2   proceedings, not by this Court.”).
   3                                 IV. CONCLUSION
   4         For the foregoing reasons, the Court hereby ORDERS as follows:
   5         1.     Telebrands’s instant Motion is GRANTED.
   6         2.     This action, including discovery therein, is STAYED until further
   7   order of this Court. Any party may file a motion to vacate the stay at any time,
   8   for good cause shown.
   9         3.     Telebrands is DIRECTED to file a Notice of Resolution of the
  10   Gallo Case no later than 14 days after the Gallo court grants or denies the Gallo
  11   plaintiffs’ motion for final approval of settlement. Thereafter the Court will set
  12   a Status Conference to discuss further proceedings in this action.
  13         4.     Telebrands’s pending Ex Parte Application for a Modified Briefing
  14   Schedule on Plaintiff’s Motion for Class Certification [ECF No. 55] is DENIED
  15   as moot.
  16         5.     The Clerk is DIRECTED to close this case administratively.
  17         IT IS SO ORDERED.
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  19   Dated: December 13, 2021
                                              John W. Holcomb
  20                                          UNITED STATES DISTRICT JUDGE
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